      Case 2:22-cv-01527-DAD-AC Document 61-22 Filed 03/06/24 Page 1 of 2



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                            UNITED STATES DISTRICT COURT
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                          EASTERN DISTRICT OF CALIFORNIA
10                              SACRAMENTO DIVISION
11   E.L., a minor, by and through her general     Case No. 2:22-cv-01527-DAD-AC
     guardian, JESSICA LONG; JESSICA LONG, an
12   individual,
                     Plaintiffs,
13                                                 [PROPOSED] ORDER GRANTING
              v.
     LIEUTENANT JERRY FERNANDEZ, in his            PLAINTIFF JESSICA LONG’S MOTION
14
     individual capacity; DETECTIVE JACOB          TO COMPEL PRODUCTION OF
15   DUNCAN, in his individual capacity;           SUBPOENAED DOCUMENTS FROM NON-
     DETECTIVE JEREMY ASHBEE, in his               PARTY VERIZON RELATED TO
16   individual capacity; SHASTA DISTRICT FAIR DEFENDANT SHASTA DISTRICT FAIR &
     AND EVENT CENTER, a district agricultural     EVENT CENTER’S WORK CELL PHONE
17
     association; COUNTY OF SHASTA; SHASTA FOR MELANIE SILVA (ECF 54)
18   COUNTY SHERIFF’S DEPARTMENT;
     MELANIE SILVA, in her individual and official Trial Date: March 24, 2025
19   capacity; BJ MACFARLANE, in his individual
     and official capacity; KATHIE MUSE, in her    Action Filed: August 31, 2022
20   individual and official capacity, and DOES 1
21   through 10,
                     Defendants.
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                                    [PROPOSED] ORDER
      Case 2:22-cv-01527-DAD-AC Document 61-22 Filed 03/06/24 Page 2 of 2



 1         Before this court came PLAINTIFF JESSICA LONG’S MOTION TO COMPEL

 2   PRODUCTION OF SUBPOENAED DOCUMENTS FROM NON-PARTY VERIZON RELATED
 3   TO DEFENDANT SHASTA DISTRICT FAIR & EVENT CENTER’S WORK CELL PHONE FOR

 4   MELANIE SILVA (ECF 54). The Court being fully advised and good and sufficient cause appearing
 5   therefore, IT IS HEREBY ORDERED:
 6         1. PLAINTIFF JESSICA LONG’S MOTION TO COMPEL PRODUCTION OF
 7             SUBPOENAED DOCUMENTS FROM NON-PARTY VERIZON RELATED TO
 8             DEFENDANT SHASTA DISTRICT FAIR & EVENT CENTER’S WORK CELL
 9             PHONE FOR MELANIE SILVA (ECF 54) is hereby GRANTED;
10         2. Plaintiff Jessica Long shall serve this order on Verizon; and
11         3. Verizon is ORDERED to produce the requested information (which is referenced by
12             Verizon as Verizon Case # 24130943) to plaintiffs within seven (7) calendar days of being
13             served with this order.
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     IT IS SO ORDERED.
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     Date:____________
17                                                      __________________________________
                                                              HON. ALISSON CLAIRE
18                                                      UNITED STATES MAGISTRATE JUDGE
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                                            [PROPOSED] ORDER
